         Case 1:19-cr-00539-PGG Document 36 Filed 01/11/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

             -against-                                          ORDER

 MIGUEL CARRASQUILLO,                                       19 Cr. 539 (PGG)

                          Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

              The Government will respond to Defendant’s motion pursuant to 18 U.S.C. §

3582 (Dkt. No. 35) by January 18, 2021.


Dated: New York, New York
       January 11, 2021
